Case:16-01032-SDB Doc#:52 Filed:09/21/18 Entered:09/26/18 09:29:49   Page:1 of 9
Case:16-01032-SDB Doc#:52 Filed:09/21/18 Entered:09/26/18 09:29:49   Page:2 of 9
Case:16-01032-SDB Doc#:52 Filed:09/21/18 Entered:09/26/18 09:29:49   Page:3 of 9
Case:16-01032-SDB Doc#:52 Filed:09/21/18 Entered:09/26/18 09:29:49   Page:4 of 9
Case:16-01032-SDB Doc#:52 Filed:09/21/18 Entered:09/26/18 09:29:49   Page:5 of 9
Case:16-01032-SDB Doc#:52 Filed:09/21/18 Entered:09/26/18 09:29:49   Page:6 of 9
Case:16-01032-SDB Doc#:52 Filed:09/21/18 Entered:09/26/18 09:29:49   Page:7 of 9
Case:16-01032-SDB Doc#:52 Filed:09/21/18 Entered:09/26/18 09:29:49                     Page:8 of 9




                      INTHE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OFGEORGIA
                                AUGUSTA DIVISION

INRE:                                                  )
                                                       )
        NAYNA PATEL and VINOD PATEL,                   )          CHAPTER13PROCEEDING
                                                       )          CASE NO: 16-11274-SDB
               Debtors.                                )          ADVERSARY CASENO.16-01032
                                  )  .··           .       . ··

      ORDER ON MOTION FOR FINAL APPROVAL OF U.S. SMALL BUSINESS
               ADMINISTRATION OFFER-IN-COMPROMISE

        Debtors have filed a motion final approval of its offer-in-compromise with the Creditor,
 Business Loan Center, LLC (the "SBA Creditor"), holding Claim No. 4 upon the following terms:
(1) Debtors will pay Creditor $30,000.00 in cash; and (2) Debtors will sell their 2007 Lexus EX
350 and 2007 Toyota Tundra and/or remit $21,500.00 to the SBA Creditor. Both of said payments
will beremitted to the SBA Creditor through the Chapter 13 Trustee with the requisite commission
being deducted, and will then be remitted to the SBA Creditor in accordance with standard
procedure, but no later than 60 days after the moneys are remitted to the Chapter 13 Trustee; (3)
the SBA Creditor will receive any excess funds from Debtors' monthly payments after the claims
of all unsecured creditors are paid in full; (4) the term of Debtors' confirmed plan shall remain at·
60 months; and (5) Debtors' plan is modified to provide that the SBA Creditor's claim will be paid
by the Trustee rather than directly by Debtors.

        Debtors' Motion having been considered and it appearing to the Court that the Offer-in-
Compromise is in the best interest of Debtors and Debtors' Estate,
Case:16-01032-SDB Doc#:52 Filed:09/21/18 Entered:09/26/18 09:29:49               Page:9 of 9


          Debtors Motion for Final Approval of U.S. Small Business Administration Offer-in-
 Compromise as stated above is GRANTED.

                                         [END OF DOCUMENT]




   Presented by:

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